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                                         No. 23-1719


                                           IN THE
                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT
                                  _____________________

                        MARYLAND SHALL ISSUE, INC., ET AL.,
                                                    Plaintiffs-Appellants,
                                               v.

                        MONTGOMERY COUNTY, MARYLAND,
                                               Defendant-Appellee.
                                  _____________________

                        On Appeal from the United States District Court
                                for the District of Maryland
                               (Theodore D. Chuang, Judge)
                                 _____________________

             BRIEF OF APPELLEE MONTGOMERY COUNTY, MARYLAND
                             _____________________

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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-1719
        No. __________             Caption: Maryland
                                            __________________________________________________
                                                     Shall Issue, Inc., et al. v Montgomery County, MD

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Montgomery County, Maryland
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Appellee            makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Edward B. Lattner
        Signature: ____________________________________                    Date: ___________________
                                                                                     July 13, 2023

                     Appellee
        Counsel for: __________________________________




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              General Ordinances of the City of Indianapolis 648 (1904).........................33

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             Laws and Ordinances for the Government of the Municipal
             Corporation of the City of Reading, Pennsylvania, in Force
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              Park Commissioners’ Report, Springfield, Massachusetts (1897) ............... 33

        Kansas City Ordinance No. 9637, § 11, Charter and Revised Ordinances
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             Ordinances of the City of Boulder 157 (1899) ..............................................33

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              Statutes of the Arizona Territory 1252 (1901) .......................................38, 43

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             the Department of Parks of the City of New Bedford,
             Massachusetts 74 (1902) ...............................................................................34

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             Alderman of the City of New York, Vol. IV 600 (1903) .................................33



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              Lowell, First Annual Report of the Board of Park Commissioners
              of the City of Lowell, [Massachusetts] 58 (1903) .........................................34

        An Ordinance in Relation to the Public Parks of the City of Troy and the
             Maintenance of Good Order Therein, § 2 Municipal Ordinances of
             the City of Troy 375 (1905) ...........................................................................34

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             Ordinances of the City of Houston (1904) ....................................................34

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              Ordinances of the City of Neligh, Nebraska 37 (1906) .................................34

        Pueblo, Colorado, Ordinance 678 (Ch. 27, § 656, No. 20), Ordinances
              of the City of Pueblo [Colorado] (1904) .......................................................34

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             Amendments to “The Revised Municipal Code of Chicago of
             1905” and New General Ordinances 40 (1906) ...........................................34

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             Report of the Park Commissioners of the City of Haverhill,
             Massachusetts 12 (1905) ...............................................................................34

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              Saginaw, Michigan 173 (1905) .....................................................................34

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             Propagation, Protection, Taking, Use and Transportation of
             Game and Fish, and Certain Harmless Birds and Animals,
             § 53 (1905) ...............................................................................................31, 35

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             Public Parks of the City of Grand Rapids, and to Provide for the
             Preservation of the Public Property Therein (Passed May 4, 1891,
             Amended June 20, 1892, and October 11, 1897) § 432 (3),
             Compiled Ordinances of the City of Grand Rapids 163 (1906) ....................33

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             Rules and Regulations of the Department of Parks of the City of
             New York 7 (1906) .........................................................................................33

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             (Approved August 13, 1906), Penal Ordinances of the City of
             Los Angeles 317 (1921) .................................................................................34

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             Digest of the Ordinances of Town Council of the Borough of
             Phoenixville 135 (1906).................................................................................34

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              Ordinances of the City of Olean 26 (1922) ...................................................34

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               Charter of the City of Seattle and the Ordinances of the City
               of Seattle 221 (1908)......................................................................................34

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            (March 4, 1909), A Digest of the Ordinances and Contracts of
            the City of Memphis 659 (1909) ....................................................................34

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             the City of Oakland, California 15 (1909) ....................................................34

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             and Orderly Government of Parks…, § 20 (September 2, 1909),
             Constitution, Charter and Revision of the Ordinances and Municipal Laws
             of the City of Paducah, Kentucky 489 (1910)................................................34

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              Staunton, Virginia 115 (1910) .......................................................................34


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        Colorado Springs, Colorado, Code § 1068, The Code of Colorado
              Springs 450 (1922) ........................................................................................34

        New York City Ordinance, Ch. 17 Art. 1 § 17 (8) New Code of Ordinances
             of the City of New York Including the Sanitary Code, the
             Building Code, and Park Regulations Adopted
             June 20, 1916 389 (1926) ..............................................................................33

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              Rule 3, Charter and Ordinances of the City of New Haven,
              Connecticut and Special Acts 438 (1914) .....................................................34

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             Birmingham, Alabama 662 (1917) ................................................................34

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              of 1917 552 (1917).........................................................................................34

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        Oakland, California, Ordinance No. 129 N.S. § 9 City of Oakland
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              of Salt Lake City, Utah 474 (1920) ................................................................33

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              Cemeteries, Rule 3, Revised Ordinances of 1921, City of
              Burlington, Vermont 1(1921) ........................................................................34

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              Charter and Ordinances of the City of Chattanooga 145 (1922) .................34

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                              STATEMENT OF JURISDICTION

              Montgomery County accepts Appellants’ Statement of Jurisdiction.

                                 STATEMENT OF THE ISSUE

               Did the District Court abuse its discretion when it denied Plaintiffs’ request
        for a preliminary injunction?

                                    STATEMENT OF THE CASE

        Nature of the Case

              In the face of an unprecedented increase in gun violence, the County amended

        its Firearms Law 1 by enacting two bills in 2021 (Bill 4-21) and 2022 (Bill 21-22E)

        to protect areas of the County where large groups and vulnerable populations

        congregate.

              Plaintiffs challenge those amendments under the Second Amendment.

        Plaintiffs are a non-profit group dedicated to the preservation and advancement of

        gun owners’ rights in Maryland (Maryland Shall Issue, Inc.); a firearms training

        facility; a firearms dealer; and individuals who have State of Maryland-issued

        permits to wear and carry guns. (JA 37-50) 2



              The County’s Firearms Law is codified in Chapter 57 (“Weapons”) of the
              1

        Montgomery County Code (MCC). (JA 680-699)
              2
                 The procedural history of this case, including its Maryland state court
        origins, is described in the District Court’s underlying Memorandum Opinion. (JA
        828-832) Plaintiffs’ state-law challenges to the County Firearms Law remain
        pending in the Circuit Court for Montgomery County.
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              Plaintiffs moved the District Court for a temporary restraining order and

        preliminary injunction on December 6, 2022. They asked the District Court to enjoin

        portions of the County’s Firearms Law that prohibits guns in and within 100 yards

        of defined “places of public assembly.”

              After briefing and oral argument, the District Court denied Plaintiffs’ request

        for an injunction on July 6, 2023. Plaintiffs noted this interlocutory appeal of that

        denial on July 7, 2023.

              The District Court also denied Plaintiffs’ request for an injunction pending

        appeal on September 12, 2023. Plaintiffs moved this Court for an injunction pending

        appeal later that same day; the County’s Opposition is due September 20, 2023.

              In this interlocutory appeal, Plaintiffs challenge the District Court’s denial of

        injunctive relief only with respect to: (1) the County’s prohibition of firearms in

        places of worship, parks, recreational facilities, and multipurpose exhibition

        facilities; and (2) the County’s “buffer zone” provision, which prohibits of carrying

        a firearm within 100 yards of a place of public assembly.

              This Court should uphold the District Court’s decision as Plaintiffs have not

        met their burden for the extraordinary relief of a preliminary injunction.




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        Statement of Facts

         The County Enacts Changes to its Firearms Law in the Face of Unprecedented
                  Levels of Gun Violence in the Country and in the County.

               In 2020, the number of firearm-related deaths in the United States rose to

        45,222, with an average of 124 people dying from gun violence every day. (JA 407-

        408) Gun violence is now the leading cause of death in children and adolescents,

        overcoming car crashes, which were the leading cause of death for the prior 60

        years. 3 Three of the worst mass shootings in this country’s history happened in the

        last twenty years. 4

               The County is not immune from this scourge of gun violence: 5

                         • From 2017-2021, robberies and assaults made up 80 to
                           90% of firearms crimes;


               3
                    New York State Rifle & Pistol Assoc., Inc. v. Bruen, 142 S. Ct. 2111,
        2165 (2022) (Breyer, J., dissenting) (citations omitted).
               4
                     See Oregon Firearms Fed’n. v. Kotek, No. 2:22-cv-01815-IM, 2023
        U.S. Dist. LEXIS 121299 at *35 (D. Or. July 14, 2023) (listing the three worst mass
        shootings as: 2007 shooting in Blacksburg, Virginia (32 people killed with 174
        rounds fired in approximately 9-10 minutes); 2016 shooting Orlando, Florida (49
        people killed); 2017 shooting in Las Vegas, Nevada (60 killed, 410 people shot, over
        1,000 rounds fired in approximately 11 minutes).
               5
                    Except where indicated otherwise, the following facts come from the
        Montgomery County Office of Legislative Oversight Memorandum Report No.
        2022-13 “Firearms Availability, Data, and Legal Authority in Montgomery County,
        MD” (Nov. 1, 2022) at ii, 13.
        https://www.montgomerycountymd.gov/OLO/Resources/Files/2022_reports/OLOR
        eport2022-13.pdf.


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                        • The number of personally manufactured firearms, or
                          “ghost guns,” seized by County police in 2020 increased
                          250% from the prior year;

                        • In August 2021, a 14-year old used a ghost gun to shoot 4
                          people, three minors and one adult, killing the adult, at an
                          outdoor basketball court at a County recreation center. He
                          fired at least 16 shots; 6

                        • In January 2022, in a County public high school restroom,
                          one student shot another in the middle of the school day
                          with a ghost gun, assembled from parts delivered to his
                          home; 7

                        • As of June 2022, homicides in the County involving guns,
                          victims and suspects under the age of 21 more than
                          doubled from 2021 to 2022 (JA 498);




              6
                      Kevin Lewis, 14-year-old Behind Fatal Shooting in Germantown Used
        a Ghost Gun, Prosecutors Say, wjla.com, August 20, 2021,
        https://wjla.com/news/local/14-year-old-shilen-wylie-fatal-quadruple-shooting-
        germantown-recreation-center-ghost-gun
              7
                      Darcy Spencer, Maryland Teenager Sentenced to 18 Years for
        Shooting Student at Magruder High, NBCwashington.com, December 22, 2022,
        https://www.nbcwashington.com/news/local/maryland-teenager-sentenced-to-18-
        years-for-shooting-student-at-magruder-high/3239939/; Zak Failla, Magruder HS
        Teen Who Shot Student,15, With 'Ghost Gun' Gets 18 Years In Prison, Daily Voice,
        December 22, 2022,
        https://dailyvoice.com/maryland/montgomery/news/magruder-hs-teen-who-shot-
        student15-with-ghost-gun-gets-18-years-in-prison/852524/


                                                 4
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                        • On July 10, 2022, a shooter opened fire shortly before 5:20
                          PM in a County shopping center parking lot, discharging
                          a total of 60 rounds of ammunition, striking cars, local
                          businesses, and critically injuring a man who had to be
                          taken to the hospital (JA 497);8 and

                        • As of July 2022, non-fatal gun shootings were up 75%
                          from the year before. (JA 497)

              Against the backdrop of this unprecedented increase in gun violence,9 and

        pursuant to its authority under State law, 10 the County enacted two changes to its

        Firearms Law.




              8
                     Michael Hernandez, 60 Shots Fired in Briggs Cheney Parking Lot; Man
        Critically Injured, Montgomery Community Media, July 11, 2022
        https://www.mymcmedia.org/60-shots-fired-in-briggs-chaney-parking-lot-man-
        critically-
        injured/#:~:text=A%20total%20of%2060%20rounds,scene%20over%20the%20pa
        st%20year.
              9
                 The County does not cite these undisputed legislative facts to suggest that
        this Court engage in the means-end scrutiny that the Bruen Court abolished in
        examining the constitutionality of governmental firearms regulations under the
        Second Amendment. See New York State Rifle & Pistol Association v. Bruen, 142
        S. Ct. 2111, 2127 (2022). Rather, as discussed below, they evidence the
        unprecedented societal concerns and dramatic technological changes facing County
        legislators when they amended the County Firearms Law.
              10
                      Maryland law authorizes a county to regulate the purchase, sale,
        taxation, transfer, manufacture, repair, ownership, possession, and transportation of
        a handgun, rifle, or shotgun, their components and ammunition, (1) with respect to
        minors and (2) within 100 yards of or in a park, church, school, public building, and
        other place of public assembly. See Md. Code Ann., Crim. Law § 4-209(b) (2021).


                                                 5
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              The first change to the County Firearms Law, Bill 4-21, in April 2021,

        prohibited “ghost guns” near minors and places of public assembly.11

              The second change, Bill 21-22E, effective on November 28, 2022, revised the

        definition of places of public assembly to comport with New York State Rifle &

        Pistol Association v. Bruen, 142 S. Ct. 2111 (2022) (hereafter “Bruen”). As will be

        discussed in more detail below, Bill 21-22E also removed a prior exception to the

        prohibition against carry in places of public assembly for persons who had a State

        of Maryland-issued wear-and-carry permit.

                   An Explanation of the November 2022 Changes by Bill 21-22E

              Bill 21-22E did not change an existing prohibition of carrying firearms within

        100 yards of a place of public assembly (MCC § 57-11(a)), but revised the definition

        of a “place of public assembly” (in MCC §57-1) to be consistent with Bruen. A place

        of public assembly is:

                      (1)    a publicly or privately owned:

                             (A)      park;

                             (B)      place of worship;

              11
                      Montgomery County Office of Legislative Oversight Memorandum
        Report No. 2022-13 “Firearms Availability, Data, and Legal Authority in
        Montgomery County, MD” (Nov. 1, 2022) at 4.
        https://www.montgomerycountymd.gov/OLO/Resources/Files/2022_reports/OLOR
        eport2022-13.pdf (defining “ghost gun” or “privately made firearm” as “a gun made
        by an individual that does not have a commercially applied serial number and is
        typically untraceable by law enforcement. PMFs typically begin as disassembled and
        partially unfinished components of a firearm”).

                                                       6
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                           (C)      school;

                           (D)      library;

                           (E)      recreational facility;

                           (F)      hospital;

                           (G)      community health center, including any health care
                                    facility or community-based program licensed by
                                    the Maryland Department of Health;

                           (H)      long-term facility, including any licensed nursing
                                    home, group home, or care home;


                           (I)      multipurpose exhibition facility, such      as   a
                                    fairgrounds or conference center; or

                           (J)      childcare facility;

                    (2)    government building, including any place owned by or
                           under the control of the County;

                    (3)    polling place;

                    (4)    courthouse;

                    (5)    legislative assembly; or

                    (6)    a gathering of individuals to collectively express their
                           constitutional right to protest or assemble.

                    A “place of public assembly” includes all property associated
                    with the place, such as a parking lot or grounds of a building.

        (JA 384-85, Lines 34-59) Bill 21-22E added several “sensitive places” that Bruen

        expressly indicated were locations where weapons could be constitutionally banned.

                                                    7
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        (JA 384-85, Lines 51-55)

              Plaintiffs overstate grossly the reach of the County Firearms Law,

        characterizing the County’s restrictions on public carry as banning the ability to

        carry a firearm throughout the County, including private property.12 This is simply

        not true. The County’s restriction of firearms in places of public assembly does not

        apply to:

                    • possession of a firearm or ammunition in a person’s home; 13

                    • possession of a firearm and its ammunition at a business by its owner


              12
                       Pls.’ Br. 29-30; 41-42. Notably, Plaintiffs’ newfound map (Pls.’ Br. 45
        n.7) is not in the record and was not submitted to the District Court as part of the
        Motion for a Preliminary Injunction. The map is inaccurate and misleading, as it
        fails to show the private residence or business exceptions where a gun may be kept.
                Plaintiffs argue that the County Firearms Law applies to private locations that
        are not open to the public. App. Br. 41-42. As noted by the District Court, all places
        listed in the County’s Firearms Law are modified by “place of public assembly”;
        thus any private location listed in the County Firearms Law must be open to the
        public in order to be subject to the County’s law. JA 833.
                Last, Plaintiff Engage Armament, a firearms dealer, continues to call books
        on a shelf that it occasionally loans to customers in its store a “private library.” Pls.
        Br. a 41; JA 41 ¶ 56. Engage Armament does not hold itself out to the public as a
        library with books available for loan, unlike other private libraries in the County
        inviting the public to come and enjoy 1000s of titles on their premises. Compare
        https://www.engagearmament.com/ (making no reference at all to books available
        for public loan), with https://jacarefund.org/japaneselibrary/ (Japanese American
        Care Fund Library with free loan of more than 12,000 books) ands
        https://montgomeryhistory.org/resources-at-the-jane-c-sween-library/
        (Montgomery History non-profit library).
              13
                    See MCC § 57-11(b)(3). (JA 694) This exception does not include ghost
        guns and undetectable guns. See id. (JA 694)


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                      or an authorized employee of the business; 14

                   • a law enforcement officer or a licensed security guard; 15

                   • a retired law enforcement officer;16 and

                   • the transport of a firearm in a vehicle when it is locked in a case,
                     separate from its ammunition. 17

        (JA 385-86, Lines 77-92)

              Prior to Bill 21-22E, the above list of exceptions included State handgun

        permit holders. In other words, before Bill 21-22E, if an individual had a permit from

        the State to wear and carry a handgun, that individual could still carry near places of

        public assembly. Bill 21-22E removed that exception. (JA 386, Lines 85-86)




              14
                    See MCC § 57-(b)(4). (JA 694) Both the business owner and employee
        must have State-issued wear-and-carry permits. See id. (JA 694)
              15
                      See MCC § 57-11(b)(2). (JA 694)
              16
                       The Law Enforcement Officers Safety Act (LEOSA) permits a
        qualified law enforcement officer or a qualified retired or separate law enforcement
        officer to carry a concealed weapon regardless of state or local laws. See 18 U.S.C.
        §§ 926B, 926C. There are exceptions to that law however for State or County-owned
        properties; LEOSA expressly states weapons bans on those properties must still be
        honored. See id. §§ 926B(b)(2); 926C(b)(2).
                Plaintiffs’ assertion that the County Firearms Law renders houses of worship
        “‘sitting ducks’ for mass murders” (Pls.’ Br. 30) is distasteful and inaccurate
        considering this exception and the exception for security guards.
              17
                    See MCC § 57-11(b)(5)(A). (JA 694-695) This exception does not
        include ghost guns and undetectable guns. See id. (JA 694-695)


                                                  9
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              The County removed this exception via Bill 21-22E in part based upon the

        exponential increase in the number of concealed handgun permit applications in

        Maryland after Bruen. Prior to Bruen, Maryland required a person demonstrate

        “good and substantial reason” to receive a wear-and-carry gun permit. Md. Code

        Ann., Pub. Safety § 5-306(a)(6)(ii) (2018). Immediately after Bruen, Maryland

        Governor Larry Hogan instructed the Maryland State Police to no longer enforce

        this requirement.18 In the weeks after Governor Hogan’s instruction, the number of

        applications for carry permits received by Maryland State Police increased eleven-

        fold. 19 As carry permit holders would no longer have to demonstrate any justification

        for a carry permit, and the number of carry permit holders increased substantially

        post-Bruen, the County Firearms Law prevents a person from carrying a firearm

        within 100 yards of a place of public assembly even if they have a valid State carry




              18
                     Also after Bruen, the Appellate Court of Maryland struck down the
        “good and substantial reason” requirement. See In re Rounds, 255 Md. App. 205
        (2022). The “good and substantial reason” requirement is stricken from the law
        effective October 1, 2023. 2023 Md. Laws ch. 651.
              19
                    See also Fredrick Kunkle, Supreme Court ruling sets off rush for
        concealed gun permits in Maryland, The Washington Post (July 25, 2022).
        https://www.washingtonpost.com/dc-md-va/2022/07/15/concealed-carry-
        maryland-guns-hogan/.


                                                 10
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        permit.20

           Plaintiffs Unsuccessfully Seek an Injunction to Enjoin Enforcement of the
                                     County’s Firearms Law

              In response to Bill 21-22E, Plaintiffs filed a Second Amended Complaint on

        November 30, 2022, and moved for an injunction and temporary restraining order

        based upon Count VII only. (JA 14-98) Count VII asserts that the County’s

        regulation of firearms in places of public assembly violates the Second Amendment

        because it is not a permissible regulation of “sensitive places” as set out by Bruen.21

        (JA 81-91)

              On December 6, 2022, Plaintiffs moved for a temporary restraining order and

        preliminary injunction to prevent and enjoin the County from enforcing MCC

        Section 57-11(a), as amended by County Bill 21-22E (with newly defined places of

        public assembly), as whole. (JA 832). Alternatively, Plaintiffs sought more limited

        relief: to restrain the County from enforcing MCC Section 57-11(a) as to (1) carry

        permit holders who allegedly “provide armed security to places of worship and/or to


              20
                     Bill 21-22E has a severability provision that provides its remaining
        provisions remain in full force and effect if any provision of the Bill is found to be
        unenforceable by the final judgment of a court of competent jurisdiction. (JA 286,
        Lines 97-100) See also MCC § 1-202(a) (“it is the intent of the Council that the
        provisions of this Code and all laws enacted by the County Council are severable. If
        a provision is held invalid or inapplicable, the remainder of the Code or the law
        remains in effect”).
              21
                  Plaintiffs style Count VII as: “Alleged Violations of the Second
        Amendment Right to Armed Self-Defense in Public.” (JA 81)

                                                  11
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        private schools”; and (2) the 100-yard restriction around places of public assembly

        as to carry permit holders. (ECF No. 54 at 1-2).

              After County Opposition and oral argument, the District Court issued a 40-

        page opinion denying the Plaintiffs’ motion because they did not establish a

        likelihood of success on the merits. (JA 827-866) Although the District Court noted

        that this finding made it unnecessary to address the remaining factors, Pashby v.

        Delia, 709 F.3d 307, 320 (4th Cir. 2013), the District Court wrote that “even if they

        were considered, the remaining factors collective weigh against a preliminary

        injunction.” (JA 864-866)

              Initially, the District Court summarized the Bruen decision. The District Court

        noted that Bruen did not resolve whether a court reviewing firearms restrictions is

        limited to historical sources from the time period of the ratification of the Second

        Amendment in 1791, or from the time period of the ratification of the Fourteenth

        Amendment in 1868, at which point the protections of the Second Amendment

        became applicable to local firearms restrictions. The District Court concluded that

        historical sources from the time period of the ratification of the Fourteenth

        Amendment are equally if not more probative of the scope of the Second

        Amendment’s right to bear arms because, as Bruen noted, states are bound to respect

        the right to keep and bear arms because of the Fourteenth Amendment, not the

        Second. The District Court found additional support for this conclusion in Nat’l Rifle



                                                 12
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        Ass’n v. Bondi, 61 F.4th 1317, reh’g granted en banc, 72 F.4th 1346 (11th Cir.

        2023). 22 (JA 844-845)

              The District Court then addressed the Plaintiffs’ claims regarding the specific

        categories of places of public assembly under the County Firearms Law.23 As to

        places of worship, the District Court concluded that the historical record in the years

        following the ratification of the Fourteenth Amendment, as presented by the County,

        demonstrated a well-established and representative number of statutes that

        prohibited firearms in places of worship. (JA 848-850).

              As to public parks, 24 the District Court again found that the historical record

        provided by the County demonstrated a history of restricting firearm possession and



              22
                      The Bondi decision was still good law at the time of the District Court’s
        decision, but as indicated, the Eleventh Circuit vacated the decision pending a
        rehearing en banc. Without a hint of irony Plaintiffs attack the District Court’s
        citation of Bondi because the Eleventh Circuit vacated it, while they urge this Court
        to follow its vacated decision Hirschfeld v. Bureau of Alcohol, Firearms, Tobacco
        & Explosives, 5 F.4th 407, vacated, 14 F.4th 322 (2021). Hirschfeld’s conclusion
        that legislation circa 1791 is the sole source for understanding the scope of the
        Second Amendment is at odds with the Bruen Court’s broader reliance on laws both
        at the time of this country’s founding as well as Reconstruction era laws. Bruen at
        2132.
              23
                    The District Court found that the Plaintiffs lacked standing to challenge
        the County Firearms Law as to some of the categories of places of public assembly.
        (JA 834-841). Plaintiffs do not challenge that aspect of the District Court’s ruling.
              24
                     The District Court found that the Plaintiffs did not have standing to
        challenge firearms restrictions in privately owned parks. (JA 839-840). Plaintiffs do
        not challenge this finding.

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        carrying in public parks and at locations where large numbers of people engaged in

        recreation. (JA 850-852). The District Court cited over a dozen state and municipal

        laws from before, during, and after the ratification of the Fourteenth Amendment in

        support of its finding.

              The District Court turned aside the Plaintiffs’ argument that some of these

        historical statutes should be discounted because their purpose may have been to

        protect waterfowl or wildlife. First, the District Court noted that, under Bruen, the

        “how and why” historical regulations burden rights relating firearms are not

        applicable when there is a clear historical example of the exact same type of

        regulation—in this instance, restrictions on carrying firearms in parks—but are

        instead applicable only when the Court is asked to reason by analogy in order to

        uphold a new form of restriction that did not exist at the time of the ratification. (JA

        852, citing Bruen at 2132-33). Second, the District Court wrote, even if these

        considerations must be examined, the historical statutes restrict the carrying firearms

        in the exact same way as the County Firearms Law, by barring the carrying of a

        firearm in a park regardless of what self-defense concerns might exist, and they do

        so for apparently similar reasons, “[p]ublic safety and the peaceful enjoyment of

        parks,” in densely populated and urban areas. (JA 852)

              As to the County Firearms Law’s restrictions on firearms in recreational

        facilities and multipurpose exhibition facilities, the District Court concluded that the



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        historical statutes prohibiting firearms in parks “are fairly deemed to be well-

        established and representative historical analogues because such facilities, like

        parks, are locations at which large numbers of person gather to engage in recreation.”

        (JA 853) The District Court also cited state and municipal statutes directly restricting

        the carrying of firearms in recreational facilities and multipurpose exhibition

        facilities. “Whether viewed as direct historical precedent or historical analogues,

        these statutes and ordinances demonstrate a historical tradition of restricting the

        carrying of firearms in places where individuals gather for recreation or social

        activities such as the recreational facilities and multipurpose exhibition facilities

        covered by [the County Firearms Law].” (JA 853-854) The burden these statutes

        imposed on the right to bear arms is comparable to the burden imposed by the County

        Firearms Law, the District Court wrote, because they both generally prohibit the

        carrying of firearms in these locations with no exception relating to possible self-

        defense needs. And the reasons for these historical restrictions, to protect individuals

        engaged in recreational and social activities from confrontation and encounters

        involving firearms or other dangerous weapons, are comparable to the reasons for

        the restrictions in the County Firearms Law, which the legislative record revealed is

        to address possible gun violence in or near places of public assembly. (JA 854)

              The District Court found that the County’s historical record included

        numerous examples of laws prohibiting firearm in buffer zones ranging from 50



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        yards to two miles around a “sensitive place,” including polling places, election

        registration locations, schools and universities, and parks or other common areas.

        (JA 856-859) Again, the District Court refuted Plaintiffs’ argument that these

        historical laws were enacted to protect wildlife and not to restrict the right to self-

        defense, noting that many of the statutes had nothing to do with hunting. First, the

        District Court wrote, these historical restrictions “were plainly enacted to further

        presumptively valid restrictions on the right to self-defense in the area immediately

        adjacent to such locations for purpose of public safety and to allow the activity at

        issue, such as voting or the education of children, to occur without concern for

        violence or other interruption.” Second, the District Court disagreed that the purpose

        of the laws restricting the carrying of firearms in parks was solely to prevent

        poaching or hunting: many apply to parks in distinctly urban settings and specifically

        include prohibitions on throwing any projectile without regard to whether the action

        endangers wildlife. Finally, these historical statutes and the County Firearms Law

        imposed comparable burdens on the right to armed self-defense. (JA 857-858)

              The District Court found that the Plaintiffs did not make the required “clear

        showing” that they would suffer irreparable harm that is “neither remote nor

        speculative, but actual and imminent.” (JA 864-865, citing Mountain Valley

        Pipeline, LLC v. 6.56 Acres of Land, 915 F.3d 197, 216 (4th Cir. 2019)). Though the

        District Court found a sufficient possibility that the County enforce its law to



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        establish standing, the Plaintiffs did not provide “any examples of prosecutions

        against permit holders for possessing a firearm in the scenarios they have referenced,

        such as a prosecution for possessing a firearm on a public street or area that happens·

        to be within 100 yards of a place of public assembly, or for carrying a firearm at a

        place of worship with the permission of the leadership of that institution.” (JA 865)

              Lastly, the District Court found that the balance of the equities and the public

        interest weighed against a preliminary injunction. Although Bruen expressly

        prohibits consideration of the public interest (e.g., the sharp increase in the number

        of mass shootings in American communities) in assessing whether a firearm

        restriction violates the Second Amendment, the District Court concluded that it

        could consider that as a public interest factor in assessing a request for preliminary

        injunction. The District Court was persuaded that the public interest weighed against

        prematurely enjoining enforcement of the County Firearms Law given statistics

        demonstrating a recent significant increase in gun violence in the County. (JA 866)

              Plaintiffs now appeal that determination as to publicly or privately owned

        places of worship, parks, recreational facilities, and multipurpose exhibition

        facilities. Plaintiffs also challenge the County’s prohibition against carrying within

        100 yards of a place of public assembly.




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                               SUMMARY OF THE ARGUMENT

              The District Court properly denied Plaintiffs preliminary injunctive relief as

        they failed to meet their burden to make a clear showing for the extraordinary

        remedy of a preliminary injunction to prohibit enforcement of a duly enacted law.

              Plaintiffs are not likely to succeed on the merits. The County provides an

        ample historical record of regulations, as required by Bruen, that are either a precise

        “twin” or that are analogous to the County’s Firearms Law.

              Although the Court need not reach the remaining factors for a preliminary

        injunction if Plaintiffs are not likely to succeed, those remaining factors weigh

        against issuing an injunction. The balance of the equities weighs against enjoining

        enforcement of the County’s duly enacted law, designed to protect members of the

        public from gun violence.

                                           ARGUMENT

                                        Standard of Review

              This Court reviews “a district court’s denial of a preliminary injunction for

        abuse of discretion, reviewing factual findings for clear error and legal conclusions

        de novo.” Leaders of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 339 (4th

        Cir. 2021).

              As the District Court correctly noted, to obtain a preliminary injunction, a

        moving party must establish that (1) it is likely to succeed on the merits; (2) it is



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        likely to suffer irreparable harm in the absence of preliminary relief; (3) the balance

        of equities tips in its favor; and (4) an injunction is in the public interest. Winter v.

        Nat. Res. Def Council, Inc., 555 U.S. 7, 20 (2008); see Dewhurst v. Century

        Aluminum Co., 649 F.3d 287, 290 (4th Cir. 2011). A moving party must satisfy each

        requirement as articulated. Pashby v. Delia, 709 F.3d 307,320 (4th Cir. 2013).

              Because a preliminary injunction is “an extraordinary remedy,” it “may only

        be awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter,

        555 U.S. at 22.

         I.        The District Court Correctly Determined that Plaintiffs Did Not
                   Demonstrate a Likelihood of Success on the Merits.

              The County’s regulation of firearms is constitutional and consistent with

        evolving Supreme Court Second Amendment precedent. The County Firearms Law

        constitutionally prohibits firearms in places of public assembly that, historically,

        were areas where other state and local jurisdictions prohibited firearms.

        Alternatively, the prohibited carry locations are analogous to similar historical

        precursors prohibiting the carry of weapons in certain locations.

              A.     Legal Standards: The Bruen Framework.

              Under Bruen, if the Second Amendment applies to the conduct regulated by

        the government, there is only one step for a court to consider: whether the

        government can justify its regulation by demonstrating it is “[c]onsistent with the

        Nation’s historical tradition of firearm regulation.” Id. at 2130.

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              1.     The Bruen Court’s Template to Assess Firearms Regulations.

              A historical tradition of firearms regulation can be based upon relatively few

        examples. For example, the Bruen Court deemed it “settled” that firearms could be

        banned in legislative assemblies, polling places, and courthouses, even while

        acknowledging that “the historical record yields relatively few 18th- and 19th-

        century” laws identifying them as “sensitive locations” where firearms could

        lawfully be prohibited. Bruen at 2133.

              Bruen identified five25 “sensitive places” where firearms historically could be

        prohibited: schools, government buildings, legislative assemblies, polling places,

        and courthouses. See id. at 2133. The Court instructed courts to “use analogies to

        those historical regulations of ‘sensitive places’ to determine [whether] modern

        regulations prohibiting the carry of firearms in new and analogous sensitive places

        are constitutionally permissible.” Id. At 2133 (emphasis in original).

              The five sensitive places in Bruen are not exhaustive, and a government may

        justify its regulation by identifying other analogous or “relevantly similar” historical

        regulations. See id. at 2132. Bruen listed two metrics for courts for a “relevantly



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                     Plaintiffs acknowledged that Bruen identified five sensitive places
        where firearms may constitutionally be prohibited in its District Court filings. See
        ECF 54-1 at 13, 15, 19, 25, 31. Before this Court, Plaintiffs now argue incorrectly
        that Bruen identified only three sensitive places, Pls.’ Br. 6, 28, 29, 42, and that the
        other two locations cited in Bruen are “dicta” from Heller. Pls.’ Br. 28.


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        similar” analysis: “how and why the regulations burden a law-abiding citizen’s right

        to armed self-defense.” Id. at 2133. The historical analogue analysis therefore should

        review “[w]hether modern and historical regulations impose a comparable burden

        on the right of armed self-defense and whether that burden is comparably justified.”

        Id. at 2133.

              The “how” and “why” metrics are central to the analysis, but they are not the

        only metrics for a court to review. See id. at 2132. In addition to the “how” and

        “why” metrics, the task of analogue analysis can be a “straightforward” assessment

        if the challenged law “addresses a general societal problem that has persisted since

        18th century.” Id. at 2131. 26 The absence of a similar law addressing the ongoing

        historical problem is relevant evidence that the new law is unconstitutional. See id.

        at 2131. 27 But for laws that implicate “unprecedented societal concerns or dramatic

        technological changes,” a more “nuanced” approach may be required, as “[t]he

        regulatory challenges posed by firearms today are not always the same as those that



              26
                    Plaintiffs state incorrectly the County’s amendments to Chapter 57
        address “a general societal problem.” Pls.’ Br. 29. As noted above, the County’s
        Firearms Law responded to unprecedented levels of gun violence in the country and
        in the County, with firearms technolog, unavailable to and unknown by the
        Founders.
              27
                      Of course, the lack of a distinctly similar historical law could simply
        reflect the fact that a state chose not to pursue a legislative response to the particular
        problem, not that any response would be unconstitutional.


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        preoccupied the Founders in 1791 or the Reconstruction generation in 1868.” Id.

        at 2132 (emphasis added).

              To that end, the analogue analysis as “[n]either a straightjacket nor a

        regulatory blank check.” Id. at 2133. Analogical reasoning only requires that the

        government “[i]dentify a well-established and representative historical analogue,

        not a historical twin.” Id. at 2133 (emphasis in original). Even if a challenged law is

        not a “[d]ead ringer for historical precursors, it still may be analogous enough to

        pass constitutional muster.” Id. at 2133.

              2.     Bruen Does Not Restrict Analysis to the Founding Era.

              Bruen does not support Plaintiffs’ argument that only “Founding Era” laws




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        are instructive in the analogue analysis. 28 The Bruen Court acknowledged the debate

        between whether the laws at the time of the Second Amendment’s adoption (1791)

        or the ratification of the Fourteenth Amendment (1868) are more instructive. See

        Bruen at 2138. But the Bruen Court expressly did not weigh in on which era is

        definitive. See id.29 Rather, the Court stated the laws in both eras supported its



              28
                     See, e.g., Pls.’ Br. at 18, 20. Plaintiffs cite two Circuit Court decisions
        as “looking to 1791” for their Second Amendment analysis. Pls.’ Br. 24. In addition
        to having no precedential weight for this Court, those decisions are inapt here. United
        States v. Daniels, 77 F.4th 337, 2023 U.S. App. LEXIS 20870 (5th Cir. 2023),
        considered a Second Amendment challenge to a federal law. Laws from 1791 may
        be more relevant than Reconstruction generation laws when reviewing the
        constitutionality of a federal law because the Second Amendment unquestionably
        applied to the Federal Government from its inception. See id. at * 20. The instant
        case is a Second Amendment challenge to a local law, not a federal law. In Teter v.
        Lopez, 76 F.4th 938, 2023 U.S. App. LEXIS (9th Cir. 2023), Hawaii’s ban on
        butterfly knives did not survive a Second Amendment challenge because they are
        similar to pocketknives, in existence for hundreds of years, yet Hawaii identified no
        statute banning possession of pocketknives. See id. at *29 (“Hawaii cites no
        analogues in which Congress or any state legislature imposed an outright ban on the
        possession of pocketknives to remedy this problem near 1791 or 1868”). Unlike
        Hawaii, the County provides ample historical twins and analogues for the County
        Firearms Law.
               And contrary to Plaintiffs’ arguments, post-Bruen, District Courts do not
        “uniformly” look to 1791. See n. 32, infra (citing two District Court decisions that
        considered Reconstruction Era statutes). And all but one of the District Court
        decisions cited by Plaintiffs (Pls. Br. at 24-25) challenged federal gun restrictions
        following Bruen; their use of 1791 as a frame of reference is not guidance for this
        case involving regulation by a local government.
              29
                     Plaintiffs have it right in their brief when they state that the Supreme
        Court “found no need to resolve” the question of whether 1791 or 1868 determined
        the scope of the Second Amendment right. Pls.’ Br. 20.


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        conclusion that New York’s law requiring “proper cause” to carry in public did not

        pass constitutional muster. Id. See also Bruen at 2150 (“[A] short review of the

        public discourse surrounding Reconstruction is useful in demonstrating how public

        carry for self-defense remained a central component of the protection that the

        Fourteenth Amendment secured for all citizens.”). 30

              Bruen instructs, “[a]lthough its meaning is fixed according to the

        understandings of those who ratified it, the Constitution can, and must, apply to

        circumstances beyond those the Founders specifically anticipated.” Bruen at 2132.

              With respect to firearms, this Country is well beyond what the Founders

        specifically anticipated. In 1791, to fire a gun, an individual needed anywhere from

        10 to 30 seconds to properly load the weapon with powder and shot for one discharge

        of their weapon, and then repeat that process. Oregon Firearms Fed’n. v. Kotek, No.


              30
                      The Bruen Court mentions Ramos v. Louisiana, 140 S. Ct. 130 (2020)
        and Timbs v. Indiana, 139 S. Ct. 682 (2019). See Bruen at 2137. But the Bruen Court
        clearly did not find those decisions – and their use of 1791 as the touchpoint for Bill
        of Rights provisions applied to state – persuasive, as Plaintiffs’ brief implies. Pls.
        Br. at 20-21. As noted above, the Bruen Court did not resolve the question as to
        which era is definitive for purposes of Second Amendment challenges to state gun
        regulation. See id. And the Supreme Court in Lynch v. Donnelly, an Establishment
        Clause case, found the decisions of the 1789 Congress to be of “special significance”
        (Pls. Br. at 21) because 17 members of that First Congress were Delegates to the
        Constitutional Convention. See Lynch v. Donnelly, 465 U.S. 668, 674 (1983). Their
        presence in the First Congress, and its approval of legislation for paid chaplains for
        the House and Senate, was of “special significance” to the Court’s Establishment
        Clause analysis. See id. The case and its deference to the 1789 Congress is not
        relevant here, especially given Bruen’s more recent and relevant Second
        Amendment analysis.

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        2:22-cv-01815-IM, 2023 U.S. Dist. LEXIS 121299 at *46-48 (D. Or. July 14, 2023).

        The commonly available firearms, single-shot guns, were difficult to keep loaded

        and at the ready for spontaneous self-defense as they used corrosive gunpowder. See

        id. at *47-49. Repeating firearms were not commonly in use at the time of the

        Founding; they were beyond the mechanical and technical capacity at the time. See

        id. at *46-49. The technological limits meant that “[i]nterpersonal gun violence was

        not widespread in society prior to the middle of the nineteenth century.” Id. at *49.

              With the expiration of the Colt’s patent on its revolver in 1857, and the end of

        the Civil War in 1865, manufacturers turned to the civilian market to continue to sell

        revolvers. See id. at *63. This led to an increase in revolvers being used for

        interpersonal violence, and a concomitant increase in their regulation by

        governments. See id. at *65-*68.

              Notably, once firearms came into existence in the mid-1800s that were

        capable of easier discharge (and that did not take 30 to 60 seconds to load and fire),

        statutes started to appear at the state and local level prohibiting their use in various

        highly populated areas. This is not a sign of warping the right to bear arms in a

        manner inconsistent with that as envisioned at the time of the Founding, as again,

        the weaponry involved was not commonly in use at the time of the Founding. It is

        therefore particularly appropriate to rely upon 1868 laws (Reconstruction

        generation) that addressed firearms bans in places of public assembly in light of the



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        increased use of firearms that were more commercially available, easier to load, and

        capable of repeating.

               Many courts, both prior to Bruen 31 and after,32 considered Reconstruction Era

        laws as pertinent to Second Amendment challenges to government regulations. As

        noted by the District Court, the Second Amendment originally applied only to the

        Federal Government. See McDonald v. City of Chicago, 561 U.S. 742, 754 (2010);

        Barron ex Rel. Tiernan v. Mayor of Balt., 32 U.S. (7 Pet.) 243, 250-51 (1833). Thus,

        sources from the time of the Fourteenth Amendment’s ratification are “equally if not

        more probative of” the scope of the Second Amendment’s right to bear arms. 33 (JA

        844)




               31
                 See Gould v. Morgan, 907 F.3d 659, 669 (1st Cir. 2018); Ezell v. City of
        Chicago, 651 F.3d 684, 702 (7th Cir. 2011); United States v. Greeno, 679 F.3d 510,
        518 (6th Cir. 2012).

                See Goldstein v. Hochul, No. 22-CV-8300 (VSB), 2023 U.S. Dist. LEXIS
               32

        111124, at *30-31 (S.D.N.Y. June 28, 2023); Frey v. Nigrelli, No. 21-CV-05334
        (NSR), 2023 U.S. Dist LEXIS 42067 at *39, *48-49 (S.D.N.Y. March 13, 2023).
               33
                  The Supreme Court did not identify the Fourteenth Amendment as the
        vehicle through which it could “incorporate” specific provisions of the Bill of Rights
        and apply them to the states, until 1925, almost half a century after the Fourteenth
        Amendment was adopted. Gitlow v. New York, 268 U.S. 652 (1925). Indeed, less
        than a decade after its adoption, the Supreme Court disclaimed any notion that the
        Fourteenth Amendment made the Bill of Rights applicable to the states. United
        States v. Cruikshank, 92 U.S. 542 (1876). The Supreme Court “incorporated” the
        Second Amendment a scant 13 years ago, in McDonald v. Chicago, 561 U.S. 742
        (2010).

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                     3.    Bruen Does Not Prohibit Firearms Regulation.

              Contrary to Plaintiffs’ assertion of broad rights of armed confrontation, the

        Second Amendment right to bear arms is not a “right to keep and carry any weapon

        whatsoever in any manner whatsoever and for whatever purpose.” District of

        Columbia v. Heller, 554 U.S. 570, 626 (2008). The Second Amendment right to bear

        arms for purposes of self-defense is most acute in one’s own home. See Heller, 554

        U.S. at 628. Moreover, an individual’s Second Amendment right to possess a firearm

        for self-defense is not limitless and is appropriately subject to government

        regulation. See Bruen at 2162 (Kavanaugh, J., concurring) (“[p]roperly interpreted,

        the Second Amendment allows a ‘variety’ of gun regulations” (quoting Heller, 554

        U.S. at 636)); McDonald v. City of Chicago, 561 U.S. 742, 786 (2010) (noting that

        it is “important to keep in mind” that Heller did not cast doubt on certain

        “longstanding regulatory measures” in connection with firearms); Heller, 554 U.S.

        at 595 (2008) (the right to keep and bear arms is “not unlimited”).

              Unlike the law at issue in Bruen, which required individuals to demonstrate

        “proper cause” to carry a weapon anywhere outside of the home, the County’s law

        is much more limited in scope. The County’s law addresses the right to carry in

        places of public assembly, or where large groups of persons are likely to be gathered

        and therefore more likely vulnerable to gun violence.

              As the County’s regulation of firearms in places of public assembly is



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        consistent with Bruen, the District Court correctly held that Plaintiffs did not meet

        their burden of demonstrating that they would likely succeed on the merits. The

        challenged locations in the County’s definitions of “place of public assembly” either

        have exact historical statutory matches, or have historical statutory analogues that

        regulated firearms in a similar manner and for similar reasons as the County Firearms

        Law.

               B.    Buffer Zones Around Sensitive Locations, and Inclusion of a
                     Place’s Parking Lots or Building Grounds

               The County Firearms Law prohibits carry within 100 yards of a place of public

        assembly. (JA 692) Plaintiffs challenge this as overly broad and restrictive of their

        ability to travel throughout the County. Pls.’ Br. at 43. Plaintiffs are unlikely to

        prevail on their arguments because the State of Maryland expressly authorizes the

        County to create a buffer zone and, courts prior to Bruen upheld the concept of a

        buffer zone, and many historical analogues included buffer zones around sensitive

        areas and populations.

                     1.    State Law Expressly Permits the County to Prohibit Carry
                           Within 100 Yards of Public Assembly.

               State law expressly authorizes the County to include a “buffer zone” in any

        regulation of the carry of weapons in places of public assembly. See Md. Code Ann.,

        Crim. Law § 4-209(b)(1)(iii) (2021). The law provides that a county may regulate

        the “purchase, sale, transfer, ownership, possession and transportation” of a



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        handgun, rifle, or shotgun, or the ammunition for and components thereof, “within

        100 yards of or in a park, church, school, public building, and any other place of

        public assembly.” Id. This is reflective of the fact that both case law and prior statutes

        recognize that not only should a sensitive location be protected, but similarly the

        area surrounding it is entitled to protection.

                     2.     Cases Acknowledge the Concept of Buffer Zones and
                            Inclusion of Parking Lots as Part of a Building Where the
                            Second Amendment Does Not Apply.

              Several recent appellate decisions found that a parking lot associated with

        federal property qualified as a “sensitive location” in which the Second Amendment

        right to bear arms did not apply.

              For example, a parking lot reserved for government employees 1,000 feet

        from the U.S. Capitol’s entrance was “sufficiently integrated” with the Capitol to be

        considered a sensitive place where firearms may be banned in United States v. Class,

        930 F.3d 460 (D.C. Cir. 2019).34 The Court relied upon several factors to support

        this conclusion: 1) the lot had been set aside for the use of government employees,

        2) the lot was in close proximity to the Capitol building, and 3) the lot was on land

        owned by the government. See id. at 464. The Court had “[l]ittle trouble concluding



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                     While this decision and the next two discussed predated Bruen, all
        nevertheless relied heavily upon Heller and its historical analysis of “sensitive
        locations,” which Bruen augmented. See Class, 930 F.3d at 464; Bonidy 790 F.3d at
        1124-25; Dorosan at 350 Fed. Appx. at 875-76.

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        that the same security interests which permit regulation of firearms ‘in’ government

        buildings permit regulation of firearms on the property surrounding those buildings

        as well.” Id. at 464.

              In addition to Class, two other Courts of Appeals found that the Second

        Amendment right to bear arms does not apply in the parking lots around government

        buildings in Bonidy v. United States Postal Serv., 790 F.3d 1121 (10th Cir. 2015) and

        United States v. Dorosan, 350 Fed. Appx. 874 (5th Cir. 2009). Both cases involved

        challenges to federal regulations that prohibited storage and carriage of firearms on

        U.S. Postal Service property. See Bonidy, 790 F. 3d at 1123; Dorosan, 350 Fed.

        Appx. At 875. Both Courts held that the ban on guns in government buildings apply

        with the same force to the parking lot as to the building itself. See Bonidy, 790 F. 3d

        at 1126; Dorosan, 350 Fed. Appx. At 875-76.

              The same logic applies here: the same security interests that permit regulation

        of firearms in sensitive locations permits the County’s regulation of firearms in the

        parking lot or on building grounds.

                     3.     Historical Analogues for Buffer Zones Demonstrate Their
                            Need and Validity.

              The County’s buffer zone is supported by many historical laws that prohibit

        weapons within a certain distance of various areas, activities, and populations.

              Maryland has several examples of laws providing buffer zones to protect

        activities or populations of value. To protect water fowl, Somerset County in 1837

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        banned guns in or within 50 yards of any water fowl blind on Smith Island. (Add. 6)

        Maryland prohibited guns within one mile of polling places, recognized by Bruen as

        a sensitive area, on election days in Calvert County (1886 and 1888). (Add 115,

        124). In 1874, Maryland protected elections with an enormous buffer zone in Kent,

        Queen Anne’s, and Montgomery Counties: on election days, persons could not carry

        a gun anywhere in those counties. (Add. 64-65)

              In addition to Maryland, many other states enacted “buffer zones” that

        prohibited guns around certain areas or activities:

                   • Connecticut in 1859 barred the sale of liquor within one mile of any
                     military “parade-ground, muster-field, or encampment.” (Add. 20)

                   • Louisiana in 1870 prohibited guns within “one-half mile of any place
                     of registration” for elections. (Add. 46)

                   • New Mexico, when it was still a Territory in 1887,35 prohibited the
                     unlawful brandishing of a weapon within a “settlement,” defined to
                     mean “any point within three hundred yards of any inhabited house.”
                     (Add. 120)

                   • The concealed carry of weapons could not occur within two miles of a
                     university, college, or school in Mississippi in 1892. (Add. 169)

                   • Minnesota barred guns within a half mile of any of its parks in 1905.
                     (Add. 300)
              35
                 See Andrew Willinger, Territorial Gun Regulation and the “Lost” History
        of the Federal Second Amendment, Duke Center for Firearms Law Blog (August 8,
        2022) https://firearmslaw.duke.edu/2022/08/territorial-gun-regulation-and-the-lost-
        history-of-the-federal-second-amendment/ (arguing the Second Amendment has
        always applied in territories, and historical territorial laws should be given weight
        despite Bruen court’s discounting of the same).


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                 In addition to the state restrictions above, six localities between 1868 and 1890

        (Philadelphia (1868, 1869, 1870); St. Paul (1888); Trenton, New Jersey (1890);

        Pittsburgh (1893); St. Paul, Minnesota (1894); Reading, Pennsylvania (1897))

        banned guns within 50 or 100 yards of their parks, squares, or common areas. (Add.

        33, 37, 50, 130, 151, 183, 199, 227).

                 These historical laws expressly prohibit weapons in buffer zones around

        sensitive areas; the County’s prohibition of guns in buffer zones is consistent with

        this historical tradition and is constitutional.

                 The foregoing authority in State law, federal appellate decisions identifying

        parking lots as integrated with sensitive locations, and historical statutes support a

        determination that the County’s regulation of firearms within 100 yards of places of

        public assembly and in parking lots and building grounds of places of public

        assembly is consistent with historical tradition and constitutional. If Maryland

        historically protected water fowl with a buffer zone, certainly human life in areas of

        public assembly can similarly be protected by a buffer zone.

                 C.    Publicly Parks

                 Examples of historical laws prohibiting weapons in parks abound. Before

        1900, the following 27 municipalities in 13 states prohibited firearms in public

        parks:




                                                    32
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                    1.  New York City, New York (1857, 1858, 1861, 1903, 1906, 1912)
                        (Add. 12, 14, 23, 257, 313, 375);
                    2. Brooklyn, New York (1868, 1873) (Add. 25, 58);
                    3. Philadelphia, Pennsylvania (1868, 1869, 1870) (Add. 33, 37, 50);
                    4. Chicago, Illinois (1873, 1881, 1922) (Add. 60, 101, 418);
                    5. San Francisco, California (1875) (Add. 78);
                    6. Hyde Park, Illinois (1875) (Add. 83);
                    7. St. Louis, Missouri (1881, 1883) (Add. 104, 112);
                    8. Danville, Illinois (1883) (Add. 107);
                    9. Boston, Massachusetts (1887) (Add. 118);
                    10. Salt Lake City, Utah (1888, 1920) (Add. 134, 404);
                    11. St. Paul, Minnesota (1888, 1894) (Add. 130);
                    12. Trenton, New Jersey (1890) (Add. 151);
                    13. Grand Rapids, Michigan (1891, 1906) (Add. 159, 308);
                    14. Lynn, Massachusetts (1891) (Add. 154);
                    15. Rochester, New York (1896) (Add. 127);36
                    16. Williamsport, Pennsylvania (1891) (Add. 166);
                    17. Peoria, Illinois (1892) (Add. 172);
                    18. Spokane, Washington (1892) (the prohibition against firearms also
                        included “other public grounds of the city” (Add. 177);
                    19. Pittsburgh, Pennsylvania (1893) (Add. 183);
                    20. Wilmington, Delaware (1893) (Add. 190);
                    21. Canton, Illinois (1895) (Add. 204);
                    22. Detroit, Michigan (1895) (Add. 212);
                    23. Indianapolis, Indiana (1896) Add. 217)
                    24. Reading, Pennsylvania (1897) (Add. 227);
                    25. Springfield, Massachusetts (1897) (Add. 231);
                    26. Kansas City, Missouri (1898) (Add. 237);
                    27. Boulder, Colorado (1899) (Add. 243);

                 By 1887, six major metropolitan areas (New York, Chicago, Philadelphia, St.

        Louis, Boston, and San Francisco) all banned guns in their parks.




        36
             Rochester, New York, prohibited the discharge of any firearm. (Add. 127)

                                                  33
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              After 1900, 27 more municipalities in 9 more states banned firearms in parks:

                 1. Hartford, Connecticut (1902) (Add. 250);
                 2. New Bedford, Massachusetts (1902) (Add. 253);
                 3. Lowell, Massachusetts (1903) (Add. 260);
                 4. Troy, New York (1903) (Add. 264);
                 5. Houston, Texas (1904) (Add. 269);
                 6. Neligh, Nebraska (1904) (Add. 274);
                 7. Pueblo, Colorado (1904) (Add. 280);
                 8. Chicago, Illinois (1905) (Add. 286);
                 9. Haverhill, Massachusetts (1905) (Add. 290);
                 10. Harrisburg, Pennsylvania (1905) (Add. 142);
                 11. Saginaw, Michigan (1905) (Add. 297);
                 12. Denver, Colorado (1906) (Add. 302);
                 13. Los Angeles, California (1906) (Add. 317);
                 14. Phoenixville, Pennsylvania (1906) (Add. 323);
                 15. Olean, New York (1907) (Add. 328);
                 16. Seattle, Washington (1907) (Add. 337);
                 17. Memphis, Tennessee (1909) (Add. 347);
                 18. Oakland, California (1909) (Add. 352);
                 19. Paducah, Kentucky (1909) (Add. 359);
                 20. Staunton, Virginia (1910) (Add. 363);
                 21. Colorado Springs, Colorado (1911) (Add. 365);
                 22. New Haven, Connecticut (1914) (Add. 378);
                 23. Birmingham, Alabama (1917) (Add. 381);
                 24. Joplin, Missouri (1917) (Add. 385);
                 25. Oakland, California (1918) (Add. 395);
                 26. Burlington, Vermont (1921) (Add. 409); and
                 27. Chattanooga, Tennessee (1922) (Add. 416).

              In total, 54 municipalities in 22 states prohibited firearms in public parks

        between 1857 and 1922.

              Of note, two state legislatures adopted local laws to ban guns in parks within

        specific cities: the Pennsylvania General Assembly adopted the restrictions for




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        Philadelphia, Pennsylvania in 1868,37 and the Michigan General Assembly adopted

        the restrictions in Detroit in 1895. 38 These prohibitions therefore reflect a larger

        understanding of permissible restrictions in those states as opposed to just in those

        localities. Similarly, three states – Minnesota, Wisconsin and North Carolina –

        prohibited firearms in their state parks in 1905, 1917, and 1921, respectively. (Add.

        300, 390, 412)

              In addition to the above statutes, courts considering firearms bans in parks in

        recent years have held they are “sensitive places.” Courts so held after finding that

        the need for self-defense, and by extension carrying a firearm in parks, is not as acute

        as in the home, given that parks are places where children recreate. See, e.g., Warden

        v. Nickels, 697 F. Supp. 2d 1221, 1229 (W.D. Wash. 2010) (finding a city park is a

        “sensitive place” where it is permissible for the city to ban firearms because, in part,

        “[t]he need for self-defense is not ‘most acute’ at city parks and community centers

        where children and youth recreate”); Zaitzeff v. City of Seattle, 17 Wash. App. 2d 1,

        17, 484 P.3d 470, 479 (2021), review denied, 498 P.3d 478 (Wash. 2021), cert.


              37
                   A Supplement to an Act, entitled, ‘An Act Appropriating Ground for
        Public Purposes in the City of Philadelphia”, No. 1020 § 21 Laws of the General
        Assembly of the State of Pennsylvania, 1868 Session, 1088 (1868). (Add. 27, 28,
        33)
              38
                    An Act to amend an act Entitled “An Act Supplemental to the Charter
        of the City of Detroit, and Relating to Parks, Boulevards and Other Public
        Grounds…”, No. 436 § 44, Local Acts of the Legislature of the State of Michigan
        596 (1895). (Add. 206-208, 212)

                                                  35
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        denied, 142 S. Ct. 1123 (2022) (observing that although the Supreme Court in Heller

        “[d]oes not list parks as sensitive areas, the public safety concerns underlying the

        sensitive area distinction also apply here, particularly the concern about protecting

        children”).

              Given the numerous historical “twins” prohibiting weapons in parks,

        Plaintiffs did not meet their burden of demonstrating a likelihood of success in their

        claim that the County’s gun restriction in parks is unconstitutional.

              D.      Places of Worship

              There are many historical analogues to support the County’s ban on guns in

        places of worship.39

              Georgia in 1870 and 1882 prohibited the carrying of a pistol or revolver, or

        any kind of deadly weapon, to any place of public worship, “or any other public




              39
                     Many southern states historically required white male church attendees
        to bring arms to church as a precaution to thwart slave revolts. See Patrick J. Charles,
        Article: Racist History and the Second Amendment: A Critical Commentary, 43
        Cardozo L. Rev. 1343, 1351 (2022). Plaintiffs quote one such statute from Virginia
        in 1755 as evidence that the District Court erroneously ignored Founding Era
        “tradition” of permitting guns in church. See Pls. Br. at 33 (citing Koons v. Platkin,
        No. 22-7464 (RMB/AMD), 2023 U.S. Dist. LEXIS 85235, at *225 (D.N.J. May 16,
        2023)). That Virginia statute required militia members to go to church armed “to
        quell potential slave revolts.” See Charles at 1351.


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        gathering” in the state. 40 Georgia’s 1882 prohibition did not apply to law

        enforcement. (Add. 428) In 1870, 1871, and 1879, Texas prohibited any person from

        going into any church or religious assembly with a gun, and its laws in the latter two

        years also prohibited guns at “any other public assembly.”41 The Texas laws did not

        apply to law enforcement. See id.

              Missouri in 1875, 1879, and 1883 prohibited firearms in any church or place

        where people assembled for religious worship. 42 Virginia prohibited pistols or other



              40
                      See An Act to Preserve the Peace and Harmony of the People of this
        State, and for Other Purposes, Penal Code, Title 16, No. 285, Acts and Resolutions
        of the General Assembly of the State of Georgia 421 (1870) (Add. 42); Georgia
        Code, Part IV, Title I, Division IX, § 4528, The Code of the State of Georgia (1882).
        (Add. 427-428)
              41
                     See An Act Regulating the Right to Keep and Bear Arms, Ch. 46, § 1,
        General Laws of the Twelfth Legislature, of the State of Texas 63 (1870) (Add. 55);
        An Act Regulating the Right to Keep and Bear Arms, Art. 6511 (1870) (Add. 70);
        An Act to Regulate the Keeping and Bearing of Deadly Weapons, Crim. Code Art.
        6514(1871), A Digest of the Laws of Texas 1322, 1323 (1875) (Add. 71); Texas
        Code, Tit. 9, Ch. 4, Art. 320, Carrying Arms in Church or Other Assembly, The
        Revised Statutes of Texas 43 (1879). (Add. 98)
              42
                    An Act to Prevent the Carrying of Weapons in Public Assemblies of the
        People, § 1, Laws of Missouri, General and Local Laws Passed at the Regular
        Session of the Twenty-Eighth General Assembly 50-51 (1875) (Add. 74); An Act to
        Prevent the Carrying of Weapons in Public Assemblies of the People, § 1, Laws of
        Missouri, General and Local Laws Passed at the Regular Session of the Twenty-
        Eighth General Assembly 50-51 (1875) (Add. 96); An Act to Amend Section 1274,
        Article 2, Chapter 24 of the Revised Statutes of Missouri, Entitled “Of Crimes and
        Criminal Procedure,” § 1, Laws of Missouri Passed at the Session of the Thirty-
        Second General Assembly 76 (1883). (Add. 110)


                                                 37
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        dangerous weapons in 1877 in “any place of worship while a meeting for religious

        purposes is being held at such a place, or without good or sufficient cause therefor.”43

              In the 1890s, two localities in Missouri prohibited weapons at religious

        assemblies. Columbia, Missouri, prohibited the carry of dangerous weapons “into

        any church, or place where people have assembled for religious worship” in 1890.44

        In 1894, Huntsville, Missouri, prohibited the carry of a deadly or dangerous weapon

        in “any church or place where people have assembled for religious worship.”45 This

        prohibition did not apply to police officers.46

              Arizona, while still a territory in 1889 and 1901, prohibited the carrying a

        pistol or other firearm in any church or religious assembly.47 Similar to Texas’s law,


              43
                    Acts of Virginia Assembly, Ch. 7, of Offences [sic] Against Morality
        and Decency –Protection of Religious Meetings § 21, Acts and Joint Resolutions of
        the General Assembly of the State of Virginia 305 (1878). (Add. 92)
              44
                     See Chapter XVII: Carrying Concealed Weapons—Firing Guns,
        Pistols, Fire Crackers, Etc., May 22, 1890, General Ordinances of the Town of
        Columbia, in Boone County, Mo. 34, 35 (1890). (Add. 146)
              45
                     Huntsville, Missouri, Ordinance in Relation to Carrying Deadly
        Weapons, § 1 The Revised Ordinances of the City of Huntsville, Missouri of 1894
        58 (1894). (Add.193)
              46
                     See id. § 2. (Add. 194)
              47
                     An Act Defining and Punishing Certain Offenses Against Public Peace,
        § 3, Session Laws of the Fifteenth Legislative Assembly of the Territory of Arizona
        17 (1889) (Add. 137); Arizona Territory Statutes, Crimes and Punishments § 387,
        The Revised Statutes of the Arizona Territory 1252 (1901). (Add. 246)


                                                  38
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        this did not apply to law enforcement. See id. When it was still a territory, Oklahoma

        in 1890 and 1893 prohibited the carry of firearms into “any church or religious

        assembly.”48

              These historical precursors are exact matches of the County’s prohibition of

        guns in places of worship. Indeed, like these laws, the County’s law exempts law

        enforcement officers or security guards.

              In addition to these analogous historical statutory precursors, several courts in

        the 1870s viewed churches or places of worship as no place for firearms. See Hill v.

        State, 53 Ga 472, 475 (Ga. 1874) (carrying arms at places of worship “[i]s a thing so

        improper in itself, so shocking to all sense of propriety, so wholly useless and full of

        evil, that it would be strange if the framers of the constitution have used words broad

        enough to give it a constitutional guarantee”); English v. State, 35 Tex. 473 478-79

        (Tex. 1872) ( finding it “[l]ittle short of ridiculous, that any one should claim the

        right to carry upon his person any of the mischievous devices inhibited by the statute,

        into a peaceable public assembly, as, for instance, into a church…”); Andrews v.

        State, 50 Tenn. 165, 182 (Tenn. 1871) (observing a “[m]an may well be prohibited

        from carrying his arms to church, or other public assemblage, as the carrying them


              48
                 See Territory of Oklahoma Statutes, Crimes and Punishment, Art. 47, § 7,
        The Statutes of Oklahoma 1890, Laws Passed by the First Legislative Assembly of
        the Territory 496 (1890) (Add. 149); Oklahoma Territory Statutes, Art. 45, § 7,
        Statutes of Territory of Oklahoma, 1893 504 (1893). (Add. 181)


                                                   39
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        to such places is not an appropriate use of them”).49

              Given the “twin” historical analogues above, as well as the historical views of

        courts on the propriety of firearms in places of worship, the District Court correctly

        concluded that Plaintiffs were unlikely to demonstrate that the County’s gun

        restriction in places of worship is unconstitutional.

              E.     Publicly or Privately Owned Recreational Facilities and
                     Multipurpose Exhibition Facilities, such as a Fairgrounds or
                     Conference Center

              The County’s ban of firearms in public or private recreational or exhibition

        facilities calls upon this Court to apply the “nuanced” approach described by Bruen,

        as recreational activities today do not always have a precise “twin” in 18th and 19th

        century America.

              Many historical statutes banned firearms at ballrooms, balls, or a “Fandango,”

        with some specifying that the prohibition applied only in public rooms, and others

        making the prohibition broad enough to include private rooms or any other public

        assembly. Virginia forbade arms “in fairs or markets, or in other places, in terror of




              49
                      To the extent the Bruen court distinguished the English decision and
        some of the statutes relied upon by the County, it was in the context of assessing the
        “proper cause” requirement in in New York’s public carry law, not in the context of
        a “sensitive places” analysis. Bruen at 2133-34 (observing defenders of New York’s
        law “[e]rr in their attempt to characterize New York’s proper-cause requirement as
        a ‘sensitive-place law’”).

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        the county” in 1786. 50 In 1817, New Orleans required ball attendees to check their

        firearms at the ball room door.51 When it was still a territory in 1852, New Mexico

        prohibited firearms in “balls or Fandangos.” 52 Tennessee broadly prohibited in 1869

        the carrying pistols at any fair, race course, “or other public assembly.”53 Texas in

        1870 prohibited firearms in ballrooms, social parties, and social gatherings, 54and in

        1871 expanded that list of banned carry to places “for amusement, or for educational

        or scientific purpose,” or carrying “into any circus, show, or public exhibition of any




              50
                     See An Act Forbidding and Punishing Affrays, Ch. 49 (Virginia 1786).
        (Add. 1)
              51
                     See An Ordinance Respecting Public Balls, Art. 1 (1817), General
        Digest of the Ordinances and Resolutions of the Corporation of New Orleans 371
        (1831) (prohibiting “any person to enter into a public ball-room with any cane, stick,
        sword or any other weapon” and requiring weapons be checked before entering a
        ball room). (Add. 3)
              52
                     An Act Prohibiting the Carrying [of] a Certain Class of Arms, Within
        the Settlements and in Balls § 3, Laws of the Territory of New Mexico (1852)
        (prohibiting any person in New Mexico territory from “enter[ing] said Ball or room
        adjoining said ball where Liquors are sold, or to remain in said balls or Fandangos
        with fire arms or other deadly weapons”). (Add. 9-10)
              53
                      An Act to Amend the Criminal Laws of the State, Ch. 22 § 2,
        (December 1, 1869), Acts of the State of Tennessee 23 (1870) (prohibiting the carry
        of a pistol at any “fair, race course, or other public assembly of the people”). (Add.
        39)
              54
                     An Act Regulating the Right to Keep and Bear Arms, Art. 6511 (1870);
        A Digest of the Laws of Texas 1322 (1875). (Add. 55)


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        kind, . . . or to any other public assembly.” 55 Texas’s prohibition in those same

        locations remained in 1879.56 Missouri in 1879 and 1883 prohibited guns where

        people assembled for “educational, literary, or social purposes, . . .[or] any other

        public assemblage of persons met for any lawful purpose.”57

              Two localities in Missouri enacted prohibitions at public social gatherings. In

        1890, Columbia prohibited firearms similarly in public assemblies “for educational,

        literary or social purposes, . . . [or] any other public assemblage of persons met for

        any lawful purpose.”58 Huntsville, in 1894, similarly prohibited firearms in “any . .

        . place where people are assembled for educational, literary, or social purposes, . . .




              55
                    An Act to Regulate the Keeping and Bearing of Deadly Weapons,
        Crim. Code Art. 6514(1871), A Digest of the Laws of Texas 1323 (1875). (Add. 71)
              56
                   Texas Code, Tit. 9, Ch. 4, Art. 320, Carrying Arms in Church or
        Other Assembly, The Revised Statutes of Texas 43 (1879). (Add. 99)
              57
                     Missouri Code, Crimes and Criminal Procedure § 1274, Carrying of
        Deadly Weapons, Revised Statutes of the State of Missouri, Vol. I, 224 (1879) (Add.
        96); An Act to Amend Section 1274, Article 2, Chapter 24 of the Revised
        Statutes of Missouri, Entitled “Of Crimes and Criminal Procedure,” § 1, Laws of
        Missouri Passed at the Session of the Thirty-Second General Assembly 76 (1883).
        (Add. 110)
              58
                   Columbia, Missouri, General Ordinances, Ch. 17, § 163, General
        Ordinances of the Town of Columbia in Boone County, Missouri, 35 (1890). (Add.
        146)


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        [or] into any other public assemblage of persons met for any lawful purpose.”59

              Arizona and Oklahoma, when they were still territories, prohibited weapons

        at locations of public amusement. Arizona in 1889 and 1901 banned the carry of

        firearms at any “place where persons are assembled for amusement, or for

        educational or scientific purposes, or into any circus, show or public exhibition of

        any kind, or into a ball room, social party or social gathering, or to any other public

        assembly.”60 The Territory of Oklahoma in 1890 banned guns anywhere people

        assembled “for amusement,” into any ball room, party, social gathering, or “to any

        other public assembly.” 61 That list expanded in 1893 to include “any circus, show or

        public exhibition of any kind, or to any political convention,” and to any place where

        persons assembled “for educational or scientific purposes.”62

              The burden placed upon the Second Amendment right by these analogous


              59
                     Huntsville, Missouri, Ordinance in Relation to Carrying Deadly
        Weapons, § 1 The Revised Ordinances of the City of Huntsville, Missouri of 1894
        58 (1894). (Add. 193)
              60
                     An Act Defining and Punishing Certain Offenses Against Public Peace,
        § 3, Session Laws of the Fifteenth Legislative Assembly of the Territory of Arizona
        17 (1889) (Add. 137); Arizona Territory Statutes, Crimes and Punishments § 387,
        The Revised Statutes of the Arizona Territory 1252 (1901). (Add. 246)
              61
                     Territory of Oklahoma Statutes, Crimes and Punishment, Art. 47, § 7,
        The Statutes of Oklahoma 1890, Laws Passed by the First Legislative Assembly of
        the Territory 496 (1890). (Add. 137)
              62
                   Oklahoma Territory Statutes, Art. 45, § 7, Statutes of Territory of
        Oklahoma, 1893 504 (1893). (Add. 181)

                                                  43
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        statutes to not bring firearms into places where the public gathers for purposes of

        amusement, education, scientific, or social purposes is similar to the burden created

        by the County’s ban on carrying in recreational facilities and convention centers.

              Further, courts considering the issue have found that fairgrounds or

        community centers are in fact “sensitive locations” where the Second Amendment

        does not protect the right to carry and guns may be restricted. See, e.g., Christopher

        v. Ramsey Cty., 621 F. Supp. 3d 972, 981(D. Minn. 2022) (finding state fairgrounds

        as during the State Fair “are a sensitive location with thousands of people and

        children present in often crowded conditions” and upholding gun ban as

        constitutional); Warden v. Nickels, 697 F. Supp. 2d 1221, 1229 (W.D. Wash. 2010)

        (finding for Second Amendment purposes “[n]o logical distinction between a school

        on the one hand and a community center where educational and recreational

        programming for children is also provided on the other”).

        II.   Plaintiffs Will Not Suffer Irreparable Harm if the Court Does Not Issue
              a Preliminary Injunction.

              Plaintiffs did not make a clear showing that “irreparable injury is likely in the

        absence of an injunction.” Winter v. NRDC, Inc., 555 U.S. 7, 22 (2008) (emphasis

        in original). The harm to be suffered may not be “remote or speculative, but actual

        and imminent.” Mountain Valley Pipeline, LLC v. 6.56 Acres, 915 F.3d 197, 216

        (4th Cir. 2019) (quotation omitted). Additionally, harm is irreparable when it cannot

        be fully rectified by the final judgment after trial. Id.

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               Many provisions of the County’s ban on places of public assembly are

        authorized expressly by State law and are analogous to gun restrictions in State law.

        As such, Plaintiffs will not suffer irreparable harm if the County’s restrictions remain

        in effect.

               The County’s prohibition against carrying within a buffer zone of 100 yards

        of places of public assembly is authorized by State law. See Md. Code Ann., Crim.

        Law § 4-209(b)(1)(iii). Further, the County’s use of a 100-yard buffer zone around

        places of public assembly mirrors Maryland’s use of buffer zones on election day,

        near public demonstrations, and around Ravens Stadium and Oriole Park at Camden

        Yards. See Md. Code Ann., Elec. Law § 16-903(a)(3) (2022) (prohibiting the carry

        or display of a gun “within 100 feet of a polling site” on election day); Md. Code

        Ann., Crim. Law § 4-208(b)(2) (2021) (prohibiting a person from having a firearm

        in a vehicle within 1,000 of a demonstration in a public place after being advised by

        law enforcement of the demonstration and being ordered to leave); COMAR §§

        14.25.02.06; 14.25.01.01(B)(2) (weapons prohibition at offices, restaurants, stores,

        museums, parking facilities, and other facilities located at Ravens Stadium and

        Oriole Park at Camden Yards includes “the grounds and walkways surrounding the

        facilities” and “adjacent parking lots or garages owned or controlled by” the State).

               State law expressly authorizes the County to ban guns within 100 yards of a

        park. See Md. Code Ann., Crim. Law § 4-209(b)(1)(iii). Maryland also bans guns in



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        State parks. See COMAR § 08.07.06.04; § 08.07.01.01. Maryland’s ban on guns in

        parks has been in effect since at least 1975. See Md. Reg., Vol. 2, No. 9 (April 30,

        1975) at 692. (Add. 420, 424) If Plaintiffs could not carry guns in State parks for

        nearly 50 years without suffering irreparable harm, the County’s comparable ban in

        its parks does not present an immediate, imminent harm now.

               Another example of a similarity between County’s law and the State’s

        firearms ban exists with respect to the constitutional right to public assembly. The

        State prohibits firearms at a demonstration in a public place after being advised by

        law enforcement to leave the area because a demonstration is occurring. See Md.

        Code Ann., Crim. Law § 4-208(b)(2) (2021). While the County’s law does not

        include the requirement of interaction with a law enforcement officer, the State’s

        prohibition of a weapon in a “demonstration in a public place” aligns with the

        County’s prohibition against bearing arms around those assembled to exercise their

        constitutional rights.

               Finally, the State similarly prohibits weapons in areas that are for recreational

        use or are used for convention-type events. See COMAR §§ 14.25.02.06,

        14.25.01.01(B)(2) (prohibiting weapons at Oriole Park at Camden Yard and Ravens

        Stadium, and at offices, restaurants, stores, museums, parking facilities, and other

        facilities   located     on   the   Camden        Yards   Sports   Complex);   COMAR

        §§ 11.05.05.08(C); 11.05.05.02(B)(16) (prohibiting possession or carrying, either



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        openly or concealed, of any weapon on Baltimore World Trade Center property,

        except for official purposes and by authorized personnel); COMAR § 34.04.08.04

        (prohibiting a person other than an authorized law enforcement officer from

        possessing a weapon at a State museum). The County’s inclusion of recreational or

        convention facilities as places of public assembly where weapons may not be carried

        is comparable to these State restrictions.

              Enjoining the County’s prohibitions against carrying in places of public

        assembly will not preserve Plaintiffs’ status quo as to the foregoing analogous

        locations and activities where the State bans weapons. And as noted, many of the

        County’s defined places of public assembly are in fact identical to State prohibitions.

        As law-abiding citizens with State-issued carry permits, the individual Plaintiffs

        were apparently able to comply with the same or similar State carry prohibitions to

        date without suffering irreparable harm.63 Plaintiffs’ attestations of irreparable harm

        due to the County’s gun ban at similar locations and activities in the County, even

        with a State permit, ring hollow.




              63
                 See, e.g., Plaintiff MSI’s website listing “Places and Times In Which
        Firearms Can Not Be Legally Carried by a Permit Holder,”
        https://www.marylandshallissue.org/jmain/information/md-carry-permits#f.


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        III.        The Balance of the Equities and the Public Interest Weigh in Favor
                    of Denying Plaintiffs’ Request for a Preliminary Injunction.

               When a temporary restraining order is sought against the government, “the

        government’s interest is the public’s interest,” and the third and fourth elements

        necessary for an injunction – the balance of the equities and the public interest –

        merge. See Ass’n of Cmty. Cancer Cntrs. v. Azar, 509 F. Supp. 3d 482, 501 (D. Md.

        2020) (citing Pursuing America’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir.

        2016) and Nken v. Holder, 556 U.S. 518, 435 (2009)).64

               Courts historically recognize that public safety – albeit in a means-end

        scrutiny context – is a compelling governmental interest. See, e.g., United States v.

        Salerno, 481 U.S. 739, 750 (1987) (“the Government’s general interest in preventing

        crime is compelling”; Schall v. Martin, 467 U.S. 253, 264 (1984) (“[t]he legitimate

        and compelling state interest in protecting the community from crime cannot be

        doubted” (quotation omitted)).

               In the context of injunctive relief, a government’s “[i]nability to enforce its


               64
                  Bizarrely, Plaintiffs argues that the Bruen Court somehow modified the
        balancing of the equities test in determining whether to issue a preliminary
        injunction. See Pls.’ Brief 15 (arguing that by balancing the equities, the District
        Court “resurrected the means-end balancing test that Bruen abolished”). Contrary to
        Plaintiffs’ argument, Bruen did not discuss the test for whether to issue an injunction
        at all; the word “injunction” appears nowhere in the Bruen decision. Bruen did
        abolish the means-end scrutiny appellate courts previously applied in determining
        whether governmental regulation of guns are constitutional under the Second
        Amendment. See Bruen at 2127. The District Court did not apply that means-end
        scrutiny analysis.

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        duly enacted plans clearly inflicts irreparable harm on the State.” Abbott v. Perez,

        138 S. Ct. 2305, 2324 n.17 (2018). This is especially true when the law involves

        public safety. See Maryland v. King, 567 U.S. 1301, 133 S. Ct. 1, 3 (2012).

              The Founders reserved to the states, and by extension local governments such

        as the County, police powers to protect the public and jto prevent violence. See

        United States v. Morrison, 429 U.S. 598, 618 (2000) (stating there is “no better

        example of the police power, which the Founders denied the National Government

        and reposed in the States, than the suppression of violent crime and vindication of

        its victims”). Staying enforcement of Bill 21-22E will undermine the strong interest

        that the County has in the safety of the public, and in preventing gun violence in

        areas where people, especially vulnerable populations, congregate.

              As noted by the District Court, a sharp increase in gun violence is not properly

        considered post-Bruen in assessing whether the County’s law is constitutional, but

        “there is a public interest in not prematurely enjoining Section 57-11 before a final

        determination on constitutionality is made.” (JA 866)

              There is also a public interest in safety for persons who exercise their First

        Amendment right to assemble in public. 65 See, e.g., State v. Spencer, 75 Wash. App.



              65
                   See Pls.’ Br. at 7 (quoting the County Council President “on the right
        of me and my family to go to a movie theater without having to wonder or worry
        about someone sitting next to me is carrying a gun on them”).


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        118, 124, 876 P.2d 939, 942 (1994) (observing “[p]eople have a strong interest in

        being able to use public areas without fearing for their lives”). Given the recent

        torrent of mass shootings in the United States, any person would feel trepidation

        knowing an individual, who is not a law enforcement officer, brought lethal force to

        any of the County’s defined places of public assembly. See, e.g., Bruen at 2165

        (Breyer, J., dissenting) (observing that “[s]ince the start of this year alone (2022),

        there have already been 277 reported mass shootings—an average of more than one

        per day”). And any assertion that the public should feel safer knowing a law-abiding,

        licensed firearm carrier is standing beside them and could stop a mass shooting is

        simply not statistically accurate. See Larry Buchanan and Laura Leatherby, Who

        Stops a ‘Bad Guy With a Gun’?, The New York Times, June 22, 2022 66 (stating that

        out of 433 active shooting attacks, armed bystanders–who were not armed security

        or off duty police officers–stopped less than 3% of the attacks).

              The balance of the equities and the public interest weigh in favor of the

        County, which again, enacted this law neither to flout the Second Amendment nor

        Bruen, but rather, to combat the rise of gun violence, and to protect the rights of the

        public to exercise their constitutional rights to assemble in public without fear of

        being shot.



              66
                    https://www.nytimes.com/interactive/2022/06/22/us/shootings-police-
        response-uvalde-buffalo.html?searchResultPosition=1. (JA 499)

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                                          CONCLUSION

              The District Court correctly held Plaintiffs are not entitled to injunctive relief

        and its decision should be affirmed by this Honorable Court.



                                                       Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE WITH RULE 32(g)

                         Certificate of Compliance With Length Limitation,
                        Typeface Requirements, and Type Style Requirements

        1.    This brief complies with the length limitation of Fed. R. App. P. 32(a)(7)(B)
              because this brief contains 12.358 words, excluding the parts of the brief
              exempted by Fed. R. App. P. 32(f).

        2.    This brief complies with the typeface requirements of Fed. R. App. P.
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              Microsoft Word in Times New Roman 14 point font.

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                                                            Dated: September 19, 2023




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                                   CERTIFICATE OF SERVICE

              I hereby certify that on this 19th day of September, 2023, the foregoing Brief
        and Certificate of Compliance were served on all parties or their counsel of record
        through the CM/ECF system if they are registered users or, if they are not, by
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